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                              UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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      7   IN RE: NATIONAL FOOTBALL                Case No. 2:15-m1-02668-PSG(JEMx)
          LEAGUE'S "SUNDAY TICKET"
      g ! ANTITRUST LITIGATION                    rP   OSEDl ORDER
                                                  1t GARDING MODIFICATIONS
      9    THIS DOCUMENT RELATES TO               TO SCHEDULING ORDER
           ALL ACTIONS
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                     Having Considered the parties' Stipulation Regarding Modifications to
            Scheduling Order and. finding gc~d cause therein, the Court ORDERS that the
            schedule be adjusted as set faith below:


                                   EY~II~                          CUi"I`~II~    PlU       1~


             NFL's Uppasition an Class ~ertificatian             11/4,122       No change

             NFL L?au~e~-t Motions                               N/A            111A~I~2

             Plaintiffs' Reply Brief an Gloms Certification      1212/22        No change

             Plaintiffs' ~Jpposition to NFL Drrr~bert Motions    NIA            12f~!J22
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      lr     Plaintiffs' I.~aubert Motions                       A11A           12J21~~
      1~     NFL Reply Briefs on Daubert Motions                 NIA            1x/16122
      l3                                                                        l~/16122
             I"~FL t~ppositi~n to Plaintiffs' Daube~~t Motions   NfA
      14
             Plaintiffs' Reply Briefs on Da~bert Mvtians         N1A            12130!22
      15
             Hearing on Class Certification and Dauber-t         1211 ~12~      1113123
      1G         otior~s

      17     Plaintiffs Serve Opening Merits Expert Reports      1/6123         1/27123

      I8
             Deadline for NFL to Serve Responsive Merits         3/17123        4/7123
             Expert Reports
      19     Plaintiffs to Serve Rebuttal Merits Expert          ~~~1~3         5I19/~3
             R~poi~ts
     20                                                          6f2/23         6/9123
             Cl+~se ofExpert Discovery
     al
             Summary Judgment Motions                            7/21123        No change
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             s        py cud ~n~ op~~~c~on~                      8/ 1/23        rr~ ~h~~~
     24      Summary 3udgment Reply Briefs                       912 /23        No ch~ge

     25      Summary Judgment Hearing
                                c~ 1  L7ate                      1UI~7t23       No change
     Zb      Final Pretrial Ca~tference                          X19/24         No change
     ~7
             Trial                                               2l22T2~        No change
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       1 1         IT IS HEREBY FURTHER ORDERED that, if, after meeting and conferring,
      2      the parties are unable to resolve any dispute regarding whether the NFL Defendants
      3      are entitled to conduct additional depositions of Plaintiffs' experts following service
      4      of their rebuttal or supplemental reports, the NFL Defendants may request an
      5      informal conference with the Court to resolve those disputes.
      6
      7
                                                           IT IS SO ORDERED.
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             Dated:       S~~~LZ
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                                                           PHILIP S. GUTIERREZ
      11                                                   Chief United States District Judge

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